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                                                                                FILED IN OPEN COURT
                                                                                    U.S.D.C. Atlanta
                                 THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF GEORGIA
                                                                       MAR                ':101
                                         ATLANTA DNISION            James N.                       crk
                                                                                  By: Depu     I

             UNITED STATES OF AMERICA,
                                                          CRIMINAL ACTION
             v.                                           NO. 1:13-CR-382-JEC
             DAVID ROMERO-NIETO,
                 a/k/a TOBY,
                         Defendant.
                  REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY1
                   The Defendant, David Romero-Nieto ("Defendant"), by consent, has appeared
             before the undersigned United States Magistrate Judge and has entered a plea of guilty
             to the Indictment.    After cautioning and examining the Defendant under oath
             concerning each of the subjects mentioned in Rule 11, I have determined that the guilty
             plea was knowing and voluntary, and that the plea to the offense charged is supported
             by an independent basis in fact establishing each of the essential elements of the
             offense. I have also determined that, to the maximum extent permitted by federal law,
             the Defendant has voluntarily and expressly waived his right to appeal the conviction
             and sentence and the right to collaterally attack his sentence in any post-conviction
             proceedings, including by motion filed pursuant to 28 U.S.C. § 2255, on any ground,
             except that the Defendant may file a direct appeal of an upward departure or a
             variance from the sentencing guideline range as calculated by the district court, and
             if the Government appeals the sentence imposed, the Defendant may also file a cross­


                    1Failure to file written objections to this Report and Recommendation within
             FOURTEEN (14) DAYS after service of a copy of this Report and Recommendation
             shall bar an aggrieved party from attacking such Report and Recommendation before
             the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).


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             appeal of that same sentence. It is, therefore, RECOMMENDED that the plea of guilty
             be accepted and that the Defendant be adjudged guilty and have sentence imposed
             accordingly.
                   IT IS SO RECOMMENDED this 24th day of March, 2014.


                                                 ~~·~JI1Mr




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